                                1:21-cv-01359-JES-JEH # 1-2                                   Page 1 of 14
                                                                                                                                                             E-FILED
                                                                                                Wednesday, 08 December, 2021 03:21:30 PM
                                                                                                 Service of Process
                                                                                                 Transmittal  Clerk, U.S. District Court, ILCD
                                                                                                    11/10/2021
                                                                                                    CT Log Number 540564988
TO:         Kim Lundy- Email
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Illinois

FOR:        WALMART INC. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: RIOS MARICELA // To: WALMART INC.
DOCUMENT(S) SERVED:                               Summonses, Complaint
COURT/AGENCY:                                     Tazewell County Circuit Court, IL
                                                  Case # 2021L000102
NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition - 12/03/2019,
                                                  Walmart Supercenter located at 155 East Courtland Street, Village of Morton, IL
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Chicago, IL
DATE AND HOUR OF SERVICE:                         By Process Server on 11/10/2021 at 12:34
JURISDICTION SERVED :                             Illinois
APPEARANCE OR ANSWER DUE:                         Within 30 days after service, not counting the day of service
ATTORNEY(S) / SENDER(S):                          Todd A. Strong
                                                  Strong Law Offices
                                                  3100 N. Knoxville Avenue
                                                  Peoria, IL 61603
                                                  309-688-5297
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 11/10/2021, Expected Purge Date:
                                                  11/15/2021

                                                  Image SOP

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  208 South LaSalle Street
                                                  Suite 814
                                                  Chicago, IL 60604
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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                                                                   O.Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS




Date:                         Wed, Nov 10, 2021

Server Name:                  Sheriff Drop




Entity Served                 WALMART INC                                .

Case Number                   20211000102

J urisdiction                 IL




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                    IN THE CIRCUIT COURT OF THE TENTH JUDICIAL CIRCUIT
                                TAZEWELL COUNTY,ILLINOIS

MARICELA RIOS,                                               )
   • Plaintiff,                                              )
                                                             )
v.                                                           )       Case No.: 2021-L-000102
                                                             )Please Serve:
WALMART INC d/b/a WALMART SUPERCENTER                        )       C T Corporation System,
#5157,                                                       )       R.A. for Walmart Inc.
       Defendant.                                            )       208 S. LaSalle Street, Suite 814
                                                             )       Peoria, IL 60604

                                              SUMMONS
To the defendant:

        YOU ARE SUMMONED and required to file an answer in this case, or otherwise file your
appearance, in the office of the Clerk of this Court within 30 days after service of this summons,not
counting the day of service. IF YOU FAIL TO DO SO, A JUDGMENT OR DECREE BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF ASKED IN THE COMPLAINT.

         E-filing is now mandatory with limited exceptions. To e-file, you must first create an account
with an e-filing service provider. Visit
http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service provider.
         If you need additional help or have trouble e-filing, visit
http://www.illinoiscourts.gov/faq/gethelp.asp, or talk with your local circuit clerk's office. If you
cannot e-file, you may be able to get an exemption that allows you to file in-person or by mail. Ask
your circuit clerk for more information or visit ww-w.illinoislegalaid.org.
         If you are unable to pay your court fees, you can apply for a fee waiver. For information
about defending yourself in a court case (including filing an appearance or fee waiver), or to apply for
free legal help, go to www.illinoislegalaid.org. You can also ask your local circuit clerk's office for a
fee waiver application.

        To the officer:

         This summons must be returned by the officer or other person to whom it was given for
service, with endorsement of service and fees, if any,immediately after service. If service cannot be
made, this summons shall be returned so endorsed. This summons may not be served later than 30
days after its date.
                                                      •   November 2
                                            WITNESS,                          ,2021

                                             oiLe.„ a.444---GE
                                                    Clerk of Court




Name: Todd A. Strong / Strong Law Offices
ARDC Nos.: 6226190
Attorney for: Plaintiff
Address: 3100 N. Knoxville Avenue
          Peoria IL 61603
Telephone: (309) 688-5297
todd@stronglawoffices.corn / info@stronglawoffices.com         elley@stronglawoffices.com
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                                         SHERIFF'S FEES

SERVICE AND RETURN $
MILES
TOTAL $



                          Sheriff of                                County

        I certify that I served this summons on the defendants as follows:

       (Individual defendants-personal):
        By leaving a copy and a copy of the complaint with each individual defendant
personally, as follows:

        NAME OF DEFENDANT                                DATE OF SERVICE




    -   (Individual defendants-abode):

        By leaving a copy and a copy of the complaint at the usual place of abode of each
individual defendant with a person of his family, of the age of 10 years or upwards,informing
that person of the contents of the summons,and also by sending a copy of the summons and of
the complaint in a sealed envelope with postage properly prepaid, addressed to each individual
defendant at his usual place of abode, as follows:

Name of defendant         Person with whom left Date of Service Date of Mailing




    -   (Corporation defendants):

        By leaving a copy and a copy of the complaint with the registered agent, officer or agent
of each defendant corporation, as follows:


Defendant corporation Registered Agent           Officer or Agent            Date of Service




   -    (other service)


                          Sheriff of                             County
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                    IN THE CIRCUIT COURT OF THE TENTH JUDICIAL CIRCUIT
                                TAZEWELL COUNTY,ILLINOIS

MARICELA RIOS,                                               )
     Plaintiff,                                              )
                                                             )
v.                                                           )       Case No.: 2021-L-000102
                                                             )Please Serve:
WALMART INC d/b/a WALMART SUPERCENTER                        )       CT Corporation System,
#5157,                                                       )       R.A. for Walmart Inc.
       Defendant.                                            )       208 S. LaSalle Street, Suite 814
                                                             )       Peoria, IL 60604

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                                                          November 2
                                            WITNESS,                          ,2021
                                            43444„ 42.
                                                    Clerk of Court




Name: Todd A. Strong / Strong Law Offices
ARDC Nos.: 6226190
Attorney for: Plaintiff
Address: 3100 N. Knoxville Avenue
          Peoria IL 61603
Telephone: (309) 688-5297
todd@stronglawoffices.com / info@stronglawoffices.com          elley@stronglawoffices.com
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                                         SHERIFF'S FEES

SERVICE AND RETURN $
MILES
TOTAL $



                          Sheriff of                                County

        I certify that I served this summons on the defendants as follows:

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        By leaving a copy and a copy of the complaint with each individual defendant
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    -   (Individual defendants-abode):

        By leaving a copy and a copy of the complaint at the usual place of abode of each
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Name of defendant         Person with whom left Date of Service Date of Mailing




    -   (Corporation defendants):

        By leaving a copy and a copy of the complaint with the registered agent, officer or agent
of each defendant corporation, as follows:


Defendant corporation Registered Agent           Officer or Agent            Date of Service




   -    (other service)


                          Sheriff of                             County
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SCHEDULE A CASE RAIOICENBIT COlditIMINIIfilfeCUIT COURT OF THE TENTH JUDICIAL CIRCUIT
35DAYS OfIRERAIETHE=MSVIM                     TAZEWELL COUNTY,ILLINOIS

             MARICELA RIOS,

                    Plaintiff,                                                   Jury Demand

             V.                                                   Case No.:      2021-L-000102

             WALMART INC. d/b/a
             WALMART SUPERCENTER #5157,

                    Defendant.

                                                  COMPLAINT

                    NOW COMES the Plaintiff, MARICELA RIOS (hereinafter "Plaintiff), by and

             through her attorneys, STRONG LAW OFFICES, and complaining of the Defendant,

             WALMART INC. d/b/a WALMART SUPERCENTER #5157 (hereinafter "Defendant"),

             alleges as follows:

                    1.      That on or about December 3,2019 and prior thereto, the Defendant owned,

                            possessed, operated, managed, maintained, and/or controlled and had a duty

                            to own, possess, operate, manage, maintain, and control, both directly and

                            indirectly, individually and through its agents, servants, and/or employees,

                            certain premises and/or property located at approximately 155 East

                            Courtland Street in the Village of Morton, County of Tazewell, State of

                            Illinois.

                    2.      That on or about December 3, 2019 and prior thereto, the Defendant

                            operated, managed, maintained, and controlled and/or had a duty to operate,

                            manage, and control, both directly and indirectly, individually and through

                            its agents, servants, and/or employees, certain activities occurring at the



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                                                    Page 1 of 8
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     aforementioned premises including, but not limited to, stocking of products

     and obtaining products from high shelves at the aforesaid premises.

3.   That at the aforesaid time and place and prior thereto, the Defendant,

     individually and by and through its agents, servants, and/or employees,

     participated in coordinating the aforesaid work and activities being done at

     the aforesaid premises, including designating various work methods,

     checking work progress, inspecting the work, and was otherwise

     responsible for the work being performed adequately and properly.

4.   That on or about December 3, 2019, prior thereto, and at all relevant times

     herein, the Plaintiff was a patron at the aforesaid premises and legally on

     said property.

5.   That on or about December 3, 2019, the Plaintiff was at the Walmart

     Supercenter at the above-referenced location, and was shopping in one of

     the aisles in the toy department.

6.   That on or about December 3, 2019, a female agent, servant, and/or

     employee of the Defendant was in the aisle adjacent to the aisle the Plaintiff

     was shopping in.

7.   That on or about December 3, 2019, the aforementioned agent, servant,

     and/or employee ofthe Defendant was stacking boxes on top of the shelves

     between the aisle the aforementioned agent, servant, and/or employee ofthe

     Defendant was in and the aisle in which the Plaintiff was shopping.

8.   That at the aforesaid time and place, the Plaintiff was in one of the aisles in

     the toy depaitinent, when the aforementioned agent, servant, and/or



                           2021-L-
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       employee of the Defendant in an adjacent aisle pushed a box weighing

       approximately 20 pounds onto the Plaintiff's head and right shoulder when

       the employee was in the process of stacking boxes on top of the shelves

       between the aforementioned aisles, and causing injuries to the Plaintiff.

9.     That at all times material and relevant herein, the Defendant had a duty to

       exercise reasonable care in the stacking boxes on top of the shelves between

       the aforementioned aisles in the toy department, including the provision of

       a safe, suitable, and proper safety measures for the Plaintiff and others then

       and there shopping.

10.    That at the aforesaid time and place, prior thereto, and at all relevant times

       herein, the Defendant and/or its agents, servants, and/or employees, knew

       and/or should have reasonably known of the unsafe, negligent, and/or

       careless manner in which its aforementioned agent, servant, and/or

       employee was stacking boxes on top of the shelves between the

       aforementioned aisles at the aforesaid location.

1 1.   That the aforementioned unsafe, negligent, and/or careless manner in which

       the Defendant's aforementioned agent, servant, and/or employee was

       stacking boxes on top of the shelves between the aforementioned aisles

       presented an unreasonable risk of harm to patrons and other people on the

       subject property, including the Plaintiff

12.    That at all times relevant and material herein, the Defendant did obtain a

       benefit from the work ofits aforementioned agent, servant, and/or employee




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      while she was working in the capacity of agent, servant, and/or employee

      of the Defendant.

13.   That at all times relevant and material herein, the Defendant had an

      opportunity to be and was in control of its aforementioned agent, servant,

      and/or employee as she was an agent, servant, and/or employee of the

      Defendant and was in the course of her employment at the time of the

      incident complained of herein.

14.   That at all times relevant and material herein, the Defendant, by its

      aforementioned agent, servant, and/or employee, had a duty to exercise

      reasonable and ordinary care with respect to the safety of the Plaintiff and

      patrons then and there shopping at the premises.

15.   That at all relevant times herein, the Defendant had a duty to exercise

      reasonable care for the safety of the Plaintiff.

16.   That at the aforesaid time and place, the Defendant were then and there

      guilty of One or more of the following careless and/or negligent acts and/or

      omissions:

      a.      Permitted the aforementioned agent, servant, and/or employee to
              stack the boxes on top of the shelves between the aforementioned
              aisles in an improper, unreasonable, and dangerous manner;

      b.      Failed to adequately and properly train the aforementioned agent,
              servant, and/or employee to properly stack boxes on top of the
              shelves between the aforementioned aisles on the premises;

      c.      Failed to adequately and properly supervise the aforementioned
              agent, servant, and/or employee in the proper way to stack boxes on
              top of the shelves between the aforementioned aisles on the
              premises;




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                               Page 4 of 8
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      d.      Failed to adequately and properly intervene in the improper and
              dangerous method of stacking boxes on top of the shelves between
              the aforementioned aisles being performed by the aforementioned
              agent, servant, and/or employee;

      e.      Failed to adequately train the aforementioned agent, servant, and/or
              employee in order to prevent each of the above allegations;

      f.      Failed to have an adequate policy to prevent each of the above
              allegations;

      g.      Failed to have an adequate policy to correct each of the above
              allegations;

      h.      Failed to have an adequate policy to train to prevent each of the
              above allegations;

      i.      Negligently pushed a box weighing approximately 20 pounds onto
              Plaintiff.s person causing her to be injured; and

      j.      Was otherwise careless and/or negligent.

17.   That at the aforementioned time and place,the Defendant was then and there

      guilty of one or more of the aforementioned careless and/or negligent acts

      and/or omissions.

18.   That one or more of the aforementioned acts and/or omissions constituting

      legal misconduct of the Defendant was a proximate cause of the

      aforementioned occurrence and of the Plaintiff's personal injuries as

      hereinafter mentioned.

19.   That one or more of the aforementioned acts and/or omissions of the

      aforementioned agent, servant, and/or employee, was a proximate cause of

      the aforementioned incident and of the Plaintiff's personal injuries as

      hereinafter mentioned.




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                              Page 5 of 8
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        20.     That as a direct and proximate result of one or more of the aforementioned

                acts and/or omissions of the Defendant, the Plaintiff did then and there

                sustain severe and permanent injuries, both internally and externally; was

                and will, in the future, be hindered and prevented from attending to her usual

                duties and affairs of life; has lost and will, in the future, lose the value of

                that time as aforementioned; and has suffered a loss of earning capacity as

                aforementioned.

        21.     That the Plaintiff suffered great pain and anguish, both in mind and body,

                and will, in the future, continue to so suffer.

        22.     That the Plaintiff further expended and became liable for, and will expend

                and become liable for, large sums of money for medical care and services

                endeavoring to become healed and cured of said injuries.

        WHEREFORE the Plaintiff, MARICELA RIOS, hereby prays for judgment in her

favor and against the Defendant, WALMART INC. d/b/a WALMART SUPERCENTER

#5157, in an amount to satisfy the jurisdictional limitations of this Court and for such

additional amounts as the jury and this Court shall deem fair and appropriate, plus the costs

of this suit herein.




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                   Respectfully Submitted,
                   MARICELA RIOS,Plaintiff



                   By:
                   Todd Strong,             o.: 26190
                   One of he Attorneys for Plaintiff
                   Designated Emails Pursuant to Supreme
                   Court Rule 13.1.(d):
                   todd@strowlawoffices.corn
                   infOgsvonklavvoffices.com
                   shelleygs.tronzlawoffices.com
                   STRONG LAW OFFICES'
                   3100 N. Knoxville Avenue
                   Peoria,IL 61603
                  (309)688-5297; Fax:(309)688-5340




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              Page 7 of8
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             IN THE CIRCUIT COURT OF THE TENTH JUDICIAL CIRCUIT
                         TAZEWELL COUNTY,ILLINOIS

MARICELA RIOS,

        Plaintiff,                                                      Jury Demand

V.                                                    Case No.:

WALMART INC. d/b/a
WALMART SUPERCENTER #5157,

        Defendant.

                             AFFIDAVIT OF DAMAGES

        NOW COMES the affiant, TODD A.STRONG ofSTRONG LAW OFFICES,and

hereby affirms and states the following beliefs under oath:

        1.      That the damages to the Plaintiff, MARICELA RIOS, exceed FIFTY

                THOUSAND DOLLARS($50,000.00)as a fesult of the occurrence herein

                complained of.

        FURTHER,the affiant sayeth not.



Date:



SUBSCRIBED AND SWORN TO
BEFORE ME THIS /6t DAY
OF      utyy,L4/- ,20A.
                                                        OFFICIAL SEAL
                                             4       SHELLEY M SMITH
                                                 NOTARY PUBLIC,STATE OF ILLINOIS
                                             I   My Commission Expires Sept 7,2025 I




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                                      Page 8 of8
